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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ALVIN B. TRUESDALE, et al.,                       :
                                                  :
       Plaintiff,                                 :      Civil Action No.:       23-92 (RC)
                                                  :
       v.                                         :
                                                  :
UNITED STATES PUBLIC HEALTH                       :
SERVICE, et al.,                                  :
                                                  :
       Defendants.                                :

                                             ORDER

       On April 25, 2023, the Court issued an order to show cause why it should not dismiss the

Complaint filed by Plaintiff Alvin B. Truesdale, who is proceeding pro se, pursuant to Federal

Rule of Civil Procedure 4(m) for failure to properly serve Defendants within 90 days after his

Complaint was filed. See Order to Show Cause, ECF No. 2. Mr. Truesdale submitted a response

to the Court, stating that he had been hospitalized and unable to receive his mail and that it was

unclear what he needed to do next for his matter to proceed. See Resp. to Order to Show Cause,

ECF No. 3. Finding good cause for Mr. Truesdale’s failure to serve Defendants, the Court grants

Mr. Truesdale an additional 30 days to serve Defendants as explained below.

       Because Mr. Truesdale seeks to bring claims against various United States agencies, he

must send a copy of the summons and of the Complaint by registered or certified mail to the

agencies. Fed. R. Civ. P. 4(i)(2). In addition, he must serve the United States pursuant to

Federal Rule of Civil Procedure 4(i)(1). He may do so by: (1) sending a copy of the summons

and Complaint by registered or certified mail to the civil-process clerk at the United States

Attorney’s Office for the District of Columbia, at 601 D St., NW, Washington, D.C. 20530; and

(2) sending a copy of the summons and Complaint by registered or certified mail to the Attorney
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General of the United States at the United States Department of Justice, 950 Pennsylvania Ave.

NW, Washington, D.C. 20530. See Fed. R. Civ. P. 4(i)(1).

       Therefore, it is hereby ORDERED that on or before June 26, 2023, Mr. Truesdale must

properly serve Defendants as explained above or else SHOW CAUSE why his claims against

Defendants should not be dismissed without prejudice pursuant to Federal Rule of Civil

Procedure 4(m). Should Mr. Truesdale again fail to properly serve Defendants by June 26, 2023

without showing good cause for the failure, the Court—on motion or on its own after notice to

Mr. Truesdale—must dismiss the action without prejudice. See Fed. R. Civ. P. 4(m).

       SO ORDERED.


Dated: May 25, 2023                                             RUDOLPH CONTRERAS
                                                                United States District Judge




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